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                                                                                  Approved.
                                                                                  It is SO ORDERED.
                                                                                  s/Dan Aaron Polster
                   IN THE UNITED STATES DISTRICT COURT
                                                                                  United States District Judge
                    FOR THE NORTHERN DISTRICT OF OHIO
                                                                                  Jan. 3, 2019
                             EASTERN DIVISION
ANTHONY DOMENIC REO                  │ Case No. 1:19-cv-00003-DAP
                                     │
                                     │ Hon. DAN AARON POLSTER
                                     │
          Plaintiff,                 │
     v.                              │
                                     │
DYCK O’NEAL INC                      │
                                     │


REO LAW, LLC
By: Bryan Anthony Reo (#0097470)
P.O. Box 5100
Mentor, OH 44061
(P): (440) 313-5893
(E): Reo@ReoLaw.org
Attorney for Anthony Domenic Reo


                     NOTICE OF DISMISSAL WITHOUT PREJUDICE



Plaintiff Anthony Domenic Reo, by and through the undersigned attorney, pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i) hereby provides notice of the voluntary dismissal, of this

action, without prejudice to refiling.


                                             RESPECTFULLY SUBMITTED,

                                             /s/ BRYAN ANTHONY REO_________
                                             REO LAW LLC
                                             By: Bryan Anthony Reo (#0097470)
                                             P.O. Box 5100
                                             Mentor, OH 44061
                                             (Business): (216) 505-0811
                                             (Mobile): (440) 313-5893
                                             (E): Reo@ReoLaw.org
                                             Attorney for Anthony Domenic Reo



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